                             Case 3:17-cv-01342-VLB Document 108 Filed 06/14/19 Page 1 of 1
                                                                                                                           Civil- (Dec-2008)
                                                                HONORABLE:              V. Bryant
                                     DEPUTY CLERK J. Shafer                   RPTR/ECRO/TAPE F. Velez, ECRO
         TOTAL TIME:                  hours 16    minutes
                                        DATE:  6/14/2019      START TIME: 2:47 PM        END TIME: 3:03 PM
                                                           LUNCH RECESS         FROM:             TO:
                                                   RECESS (if more than ½ hr)   FROM:             TO:

         CIVIL NO. 3:17-cv-01342-VLB


                            Graduation Solutions LLC                                         Jonathan B. Nelson
                                                                                                     Plaintiff’s Counsel
                                        vs
                              Acadima, LLC, et al.                                           Jeffrey S. Bagnell
                                                                                                     Defendant’s Counsel

                                                     COURTROOM MINUTES- CIVIL

                                Motion hearing                            Show Cause Hearing
                              Evidentiary Hearing                         Judgment Debtor Exam
                            ✔ Pretrial Conference


            .....#          Motion                                                              granted       denied       advisement
             .....#         Motion                                                              granted        denied       advisement
             .....#         Motion                                                              granted       denied        advisement
             .....#         Motion                                                              granted        denied       advisement
             .....#         Motion                                                              granted       denied        advisement
            .....#          Motion                                                              granted       denied       advisement
            .....#          Motion                                                              granted       denied       advisement
            .....           Oral Motion                                                         granted       denied       advisement
            .....           Oral Motion                                                         granted        denied       advisement
            .....           Oral Motion                                                         granted       denied       advisement
           .....            Oral Motion                                                         granted       denied        advisement
            .....              Briefs(s) due                    Proposed Findings due                     Response due
           .............                                                                                           filed   docketed
           .............                                                                                           filed    docketed
           .............                                                                                           filed    docketed
           .............                                                                                           filed    docketed
            .............                                                                                          filed    docketed
            .............                                                                                          filed    docketed
            ............                             Hearing continued until                                  at

Notes:    Witness Frank Seviane shall be designated as unavailable. Counsel will work together to resolve objections to proposed exhibits.
